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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

MICHELLE KOSILEK
     Plaintiff

VS.                                                            CIVIL ACTION NO. 00- 12455- MLW

MASSACHUSETTS DEPARTMENT
OF CORRCTION , ET AL.
     Defendants
                        NOTICE OF WITHDRAWAL OF APPEARANCE

 TO THE CLERK OF THE ABOVE-NAMD COURT:

             Kindly withdraw my appearance        as attorney for the defendants ,   Correctional Medical
 Services , Inc. and Arhur Brewer , M.       , in the above-captioned matter.

                                                         The Defendants
                                                         CORRCTIONAL MEDICAL SERVICES , INe.
                                                         and ARTHU BREWER, M.
                                                         By their attorneys
 I hereby certify that a true copy of the above
 document was served upon the attorney of
                                                         MORRSON MAHONEY LLP
 record for each party by mail on the 20th day
 of December , 2004.

                                                         ISI    Bruce R. Henry
 ISI   Bruce R. Henry
                                                         Bruce R. Henry, BBO #230880
 Bruce R. Henry                                          250 Summer Street
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